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                   12                               UNITED STATES DISTRICT COURT
                   13                             NORTHERN DISTRICT OF CALIFORNIA
                   14                                        SAN JOSE DIVISION
                   15

                   16   In re Google RTB Consumer Privacy                 Master File No. 5:21-cv-02155-LHK
                        Litigation,
                   17                                                     DEFENDANT GOOGLE LLC’S REQUEST
                                                                          FOR JUDICIAL NOTICE IN SUPPORT OF
                   18                                                     MOTION TO DISMISS PLAINTIFFS’
                        This Document Relates to: all actions,            CONSOLIDATED CLASS ACTION
                   19                                                     COMPLAINT

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                    1                 NOTICE OF MOTION & STATEMENT OF RELIEF SOUGHT

                    2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD: Please take notice that

                    3   on December 9, 2021 at 1:30 p.m. or as soon thereafter as it may be heard in this Court, Defendant

                    4   Google LLC (“Google”) will request that the Court consider the Exhibits attached to the

                    5   Declaration of Robby Saldaña (“Saldaña Declaration”) in adjudicating Google’s concurrently filed

                    6   Motion to Dismiss Plaintiffs’ Consolidated Class Action Complaint (“Motion to Dismiss”).

                    7   Specifically, Google requests that the Court (1) consider all Exhibits because they are incorporated

                    8   by reference into the Consolidated Class Action Complaint (“CAC”), or (2) in the alternative, take

                    9   judicial notice of Exhibits B–E under Federal Rule of Evidence 201. This Request is based on the

                   10   points and authorities below, Google’s Motion to Dismiss, the Saldaña Declaration and its exhibits,

                   11   all pleadings and papers on file in this matter, and such other matters as may be presented.

                   12                       MEMORANDUM OF POINTS AND AUTHORITIES

                   13   I.     DOCUMENTS SUBJECT TO THIS REQUEST
                   14          Google requests that the Court consider the following documents in connection with

                   15   Google’s Motion to Dismiss, which are attached to the Saldaña Declaration:

                   16              1. Exhibit A: A copy of the “Real-Time Bidding Protocol Buffer v.199,” as discussed

                   17                  extensively in the CAC and produced to the Plaintiffs on September 24, 2021.

                   18              2. Exhibit B: A copy of a webpage titled “Ad Personalization” (when logged into a

                   19                  Google       Account),     available        https://adssettings.google.com/?utm_source=ps-

                   20                  terms&hl=en_US (last accessed September 30, 2021).

                   21              3. Exhibit C: A copy of the “Search” Tab of the webpage titled “Ad Personalization

                   22                  settings”     (when      not   logged        into   a   Google    Account),     available   at

                   23                  https://adssettings.google.com/?utm_source=ps-terms&hl=en_US (last accessed

                   24                  September 30, 2021).

                   25              4. Exhibit D: A copy of the “YouTube” tab of the webpage titled “Ad Personalization

                   26                  settings,”    (when      not   logged        into   a   Google    Account),     available   at

                   27                  https://adssettings.google.com/?utm_source=ps-terms&hl=en_US (last accessed

                   28                  September 30, 2021) (when not logged into a Google Account).
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                    1               5. Exhibit E: A copy of the “Web” tab of the webpage titled “Ad Personalization

                    2                   settings”   (when     not   logged       into   a   Google    Account),     available   at

                    3                   https://adssettings.google.com/?utm_source=ps-terms&hl=en_US (last accessed

                    4                   September 30, 2021) (when not logged into a Google Account).

                    5   II.     LEGAL STANDARD
                    6           “[C]ourts must consider the complaint in its entirety, as well as other sources courts

                    7   ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in particular, documents

                    8   incorporated into the complaint by reference, and matters of which a court may take judicial notice.”

                    9   Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (citation omitted); accord,

                   10   e.g., Skilstaf, Inc. v. CVS Caremark Corp., SI, 2010 WL 199717, at *2 (N.D. Cal. Jan. 13, 2010)

                   11   (same). This rule exists “in order to ‘[p]revent [] plaintiffs from surviving a Rule 12(b)(6) motion

                   12   by deliberately omitting . . . documents upon which their claims are based . . . .’” Swartz v. KPMG

                   13   LLP, 476 F.3d 756, 763 (9th Cir. 2007) (citation omitted).

                   14           If a plaintiff’s claim “depends” on the content of a document, that document should be

                   15   treated as incorporated into the complaint, even if it is not attached to, or its contents referenced by,

                   16   the complaint. See Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005) (“We have extended the

                   17   ‘incorporation by reference’ doctrine to situations in which the plaintiff’s claim depends on the

                   18   contents of a document, the defendant attaches the document to its motion to dismiss, and the parties

                   19   do not dispute the authenticity of the document, even though the plaintiff does not explicitly allege

                   20   the contents of that document in the complaint.”). Indeed, this Court has found “[a] document not

                   21   appended to a complaint ‘may be incorporated by reference into a complaint if the plaintiff refers

                   22   extensively to the document or the document forms the basis of the plaintiff’s claim.’” Avila v.

                   23   Wells Fargo Bank, 2012 WL 2953117, at *2 n.3 (N.D. Cal. July 19, 2012) (emphasis added)

                   24   (quoting United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003)); see also 5B Charles Alan

                   25   Wright, Arthur R. Miller & Edward H. Cooper, Federal Practice and Procedure § 1357 (3d ed.

                   26   1998) (“Numerous cases, as the note below reflects, have allowed consideration of matters

                   27   incorporated by reference or integral to the claim . . . .”).

                   28           When ruling on a motion to dismiss, a court may also consider any matter subject to judicial
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                    1   notice. MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986); Tellabs, 551 U.S. at

                    2   322. Judicial notice is appropriate for facts “not subject to reasonable dispute” that are either

                    3   generally known within the trial court’s jurisdiction or “can be accurately and readily determined

                    4   from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). “[A]s a

                    5   general matter, websites and their contents may be proper subjects for judicial notice” provided that

                    6   the party provides the court with a copy of the relevant webpage. Caldwell v. Caldwell, 2006 WL

                    7   618511, at *4 (N.D. Cal. Mar. 13, 2006); see also Frances Kenny Family Trust v. World Sav. Bank

                    8   FSB, 2005 WL 106792, at *1 n.1 (N.D. Cal. Jan. 19, 2005) (finding content on the “plaintiffs’

                    9   website to be proper matter for judicial notice”); Kinderstart.com, LLC v. Google, Inc., 2007 WL

                   10   831806, at *21 n.20 (N.D. Cal. Mar. 16, 2007) (noticing content on the defendant’s website).

                   11   III.   ARGUMENT
                   12          A.      The CAC Incorporates All Exhibits by Reference

                   13          Exhibit A is version 199 of Real-Time Bidding (“RTB”) Protocol Buffer (the “Protocol”).

                   14   The CAC discusses the Protocol at length and includes claims that depend on the Protocol’s content.

                   15   Plaintiffs allege that Google sends personal information about Account Holders to bidders in

                   16   Google’s RTB “[c]onsistent with Google’s description in its own developer pages[.]” (CAC ¶ 201.)

                   17   In support of this allegation, Plaintiffs rely on v.199 of the Protocol to identify several data fields

                   18   allegedly shared through RTB. (Id. ¶¶ 138–140.) The CAC purports to quote the Protocol’s

                   19   contents for several data fields. (Id. ¶ 140.) These allegations discuss, and thereby incorporate, the

                   20   Protocol.

                   21          While the CAC purports to quote the Protocol to describe certain data fields, Plaintiffs

                   22   provide their own characterization for many data fields, including fields regarding location

                   23   information. (See id.) Plaintiffs cannot reference and characterize the Protocol (inaccurately, at

                   24   that), but then intentionally omit a copy of the Protocol for the purpose of surviving a Rule 12(b)(6)

                   25   dismissal. See Swartz, 476 F.3d at 763. Moreover, Plaintiffs claims depend on the Protocol.

                   26   Central to all Plaintiffs’ claims is the notion that Google allegedly sells and shares in RTB certain

                   27   information that qualifies as “personal information.” (CAC ¶¶ 6, 17, 90, 339–371, 383–439, 465–

                   28   482.) To support their claims, Plaintiffs specifically rely on the information contained in the
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                    1   Protocol (as well as other documents). (See, e.g., id. ¶¶ 135, 138–40, 201.) Because the Protocol

                    2   rebuts the claim that Google shares the information Plaintiffs claim is shared through RTB (or in

                    3   the manner Plaintiffs allege), Plaintiffs’ claims are deficient. Incorporation by reference is needed

                    4   here to provide the Court with all the facts.

                    5          In addition, the CAC incorporates Exhibits B–E by reference, all of which show how users

                    6   of Google services can opt into or out of personalized ads. In the CAC, Plaintiffs allege that

                    7   “Google promises its account holders privacy and control,” and “expressly assures Account

                    8   Holders that personal information will not be shared with third parties without Account Holders’

                    9   consent,” but that Google allegedly contravenes these statements. (Id. ¶¶ 11, 91.)

                   10          Plaintiffs attach to the CAC the ToS effective March 31, 2020, and the “How Our Business

                   11   Works” webpage. (Id. Exs. 4–5.) This ToS contains a hyperlink which directs to the webpage

                   12   reflected in Exhibit B (when logged into a Google Account). (See id. Ex. 4 at 7.) When not logged

                   13   into a Google Account, the hyperlink directs to a webpage titled “Ad Personalization settings,”

                   14   which has three tabs respectively titled “Search,” “YouTube,” and “Web” and reflected in Exhibits

                   15   C, D, and E. The “How Our Business Works” webpage also contains a hyperlink to the webpage

                   16   reflected in Exhibit B (when logged into a Google Account). (See id. Ex. 5 at 2.) The provision of

                   17   a hyperlink in a complaint incorporates the hyperlinked document into the complaint when the

                   18   complaint relies on the document. See Yang v. Bank of New York Mellon Corp., 2021 WL 1226661,

                   19   at *1 n.1 (S.D.N.Y. Mar. 31, 2021) (concluding that a complaint incorporated by reference a

                   20   document to which the plaintiff provided a hyperlink in his complaint); Anderson & Anderson LLP

                   21   Guangzhou v. N. Am.-Foreign Trading Corp., 2020 WL 1285450, at *1 n.2 (S.D.N.Y. Mar. 18,

                   22   2020) (same). Moreover, the ToS and the “How Our Business Works” webpage are central to

                   23   Plaintiffs’ claims. (See, e.g., CAC ¶¶ 70–82.) To survive a Rule 12(b)(6) motion to dismiss,

                   24   Plaintiffs cannot claim that Google contravenes statements that Account Holders and users have

                   25   control over privacy, including control over personalized ads, and yet fail to attach copies of the

                   26   hyperlinked documents, which show how users have control over personalized ads. See Swartz,

                   27   476 F.3d at 763.

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                    1          B.      In the Alternative, Exhibits B–E Are Publicly Available Webpages

                    2          Alternatively, the Court should take judicial notice of Exhibits B–E because they are

                    3   publicly available and their contents are “not subject to reasonable dispute” and “can be accurately

                    4   and readily determined . . . .” Fed. R. Evid. 201(b); see also Datel Holdings Ltd. v. Microsoft Corp.,

                    5   712 F.Supp.2d 974, 983, 985 (N.D. Cal. 2010) (taking judicial notice of Microsoft’s webpages);

                    6   Caldwell v. Caldwell, 2006 WL 618511, at *4 (N.D. Cal. Mar. 20, 2006) (agreeing that “as a general

                    7   matter, websites and their contents may be proper subjects for judicial notice”). Exhibits B, D, C,

                    8   D, and E are printouts of webpages publicly available from Google and therefore fall within this

                    9   established rule. See Moore v. Apple, Inc., 73 F. Supp. 3d 1191, 1197 & n.1 (N.D. Cal. 2014);

                   10   Opperman v. Path, Inc., 84 F. Supp. 3d 962, 976 (N.D. Cal. 2015); Datel, 712 F. Supp. 2d at 985.

                   11   Accordingly, the Court should take judicial notice of these Exhibits.

                   12   IV.    CONCLUSION

                   13          For the foregoing reasons, Google respectfully requests that the Court consider all Exhibits

                   14   to be incorporated by reference into the CAC or, in the alternative, that the Court take judicial

                   15   notice of Exhibits B–E to the Saldaña Declaration.

                   16   Dated: October 1, 2021                                COOLEY LLP
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